       Case 3:24-cv-08987-RFL           Document 1        Filed 12/12/24   Page 1 of 35



     BURSOR & FISHER, P.A.
 1   Philip L. Fraietta (State Bar No. 354768)
     1330 Avenue of the Americas, 32nd Floor
 2   New York, NY 10019
 3   Telephone: (646) 837-7408
     Facsimile: (212) 989-9163
 4   E-mail: pfraietta@bursor.com

 5   Attorney for Plaintiffs
 6
                                  UNITED STATES DISTRICT COURT
 7
                               NORTHERN DISTRICT OF CALIFORNIA
 8

 9   GLORIA CROWELL and KEVIN SMITH,                         Case No.
     individually and on behalf of all others similarly
10
     situated,
11                                                           CLASS ACTION COMPLAINT
                                   Plaintiffs,
12
                    v.                                       JURY TRIAL DEMANDED
13
     AUDIBLE, INC.,
14

15                                 Defendant.

16

17

18

19

20

21

22

23

24

25

26

27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
       Case 3:24-cv-08987-RFL           Document 1        Filed 12/12/24      Page 2 of 35




 1          Plaintiffs Gloria Crowell and Kevin Smith (“Plaintiffs”) file this class action complaint on
 2   behalf of themselves and all others similarly situated (the “Class Members”) against Defendant
 3   Audible, Inc. (“Defendant” or “Audible”). Plaintiffs bring this action based upon personal
 4   knowledge of the facts pertaining to themselves, and on information and belief as to all other
 5   matters, by and through the investigation of undersigned counsel.
 6                                      NATURE OF THE ACTION
 7          1.      This class action lawsuit is brought on behalf of all California residents who have
 8   accessed and used Defendant’s web-based audiobook service, audible.com (the “Website”), to
 9   search for, obtain, or otherwise access audiobook materials (the use of the Website known as the
10   “Audible Service”).
11          2.      Defendant aids, employs, agrees, and conspires with Meta Platforms, Inc., formerly
12   known as Facebook, Inc. (“Facebook”) to intercept communications sent and received by Plaintiffs
13   and Class Members, including communications containing protected reading preferences.
14   Plaintiffs bring this action for legal and equitable remedies resulting from these illegal actions. By
15   failing to procure consent before enabling Facebook’s interception of these communications, and
16   by disclosing such information to Facebook, Defendant violated the California Invasion of Privacy
17   Act §§ 631-632 and the California Constitution.
18                                     JURISDICTION AND VENUE
19          3.      The Court has jurisdiction under the Class Action Fairness Act (“CAFA”), 28
20   U.S.C. §§ 1332(a), 1332(d)(2). The amount in controversy exceeds $5,000,000, exclusive of
21   interest and costs, there are more than 100 members of the Class, and there is minimal diversity as
22   Plaintiffs reside in a different state from Defendant.
23          4.      The Court has personal jurisdiction over Defendant because Defendant operates,
24   does business in, and generates revenue in the State of California.
25          5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a
26   substantial part of the events or omissions giving rise to the claim occurred in this District.
27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          1
       Case 3:24-cv-08987-RFL            Document 1        Filed 12/12/24     Page 3 of 35




 1                                               THE PARTIES
 2           Plaintiffs
 3           6.      Plaintiff Gloria Crowell. Plaintiff Gloria Crowell is a citizen of the State of
 4   California over the age of 18, and lives in Oakland, California with an intent to remain there.
 5   Plaintiff is therefore a resident of California.
 6           7.      Plaintiff has used the Audible Service on the Website and her Android device to
 7   obtain audiobook materials since approximately 2017. From approximately 2017 through the
 8   present, Plaintiff has regularly accessed the Audible Website to search for and purchase
 9   audiobooks to later play on her Android device.
10           8.      When Plaintiff used the Website to view or purchase audiobook materials,
11   Defendant intercepted her communications with the Website that viewed or obtained audiobooks
12   on the Website. Defendant then disclosed this information in conjunction with Plaintiff’s
13   personally identifiable information to Facebook. Specifically, as a result of Defendant’s unlawful
14   conduct as alleged herein, Facebook helped Defendant intercept and collect information about
15   Plaintiff’s search and view history on the Website.
16           9.      At all relevant times, Plaintiff never consented to, agreed to, or otherwise permitted
17   Defendant to disclose her personally identifiable information and the record of materials that
18   Plaintiff viewed and obtained on the Audible Service to third parties, including to Facebook.
19           10.     Likewise, Defendant never gave Plaintiff the opportunity to prevent the disclosure
20   of her personally identifiable information and the record of materials that Plaintiff viewed and
21   obtained on the Audible Service to Facebook.
22           11.     Plaintiff has an active Facebook account which she has maintained for over ten
23   years. During that time, Plaintiff routinely logged onto her Facebook account on the same web
24   browser she used to access Defendant’s Website.
25           12.     Pursuant to the systematic process described herein, Defendant assisted Facebook
26   with intercepting Plaintiff’s protected communications on the Website without her consent,
27   including those that contained personally identifiable information and reading preferences.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                             2
       Case 3:24-cv-08987-RFL              Document 1    Filed 12/12/24      Page 4 of 35




 1          13.     By failing to receive the requisite consent, Defendant breached its duties of
 2   confidentiality and unlawfully disclosed Plaintiff’s personally identifiable information and
 3   protected reading preferences to Facebook.
 4          14.     Plaintiff Kevin Smith. Plaintiff Kevin Smith is a citizen of the state of California
 5   over the age of 18, and lives in Oakland, California with an intent to remain there. Plaintiff is
 6   therefore a resident of California.
 7          15.     Plaintiff has used the Audible Service on the Website to view and purchase
 8   audiobook materials since approximately 2023. From 2023 through the present, Plaintiff regularly
 9   accessed the Website to view and purchase audiobooks through his Audible account.
10          16.     When Plaintiff used the Audible Service to view or purchase reading materials,
11   Defendant intercepted his communications that viewed or obtained audiobooks with the Website.
12   Defendant then disclosed this information in conjunction with Plaintiff’s personally identifiable
13   information to Facebook. Specifically, as a result of Defendant’s unlawful conduct as alleged
14   herein, Facebook helped Defendant intercept and collect information about Plaintiff’s purchase and
15   view history on the Website.
16          17.     At all relevant times, Plaintiff never consented to, agreed to, or otherwise permitted
17   Defendant to disclose his personally identifiable information and the record of materials that
18   Plaintiff viewed and obtained on the Audible Service to third parties, including to Facebook.
19          18.     Likewise, Defendant never gave Plaintiff the opportunity to prevent the disclosure
20   of his personally identifiable information and the record of materials that Plaintiff viewed and
21   obtained on the Audible Service to Facebook.
22          19.     Plaintiff has an active Facebook account which he has maintained for over ten years.
23   During that time, Plaintiff has routinely logged onto his Facebook account on the same web
24   browser he used to access Defendant’s Website.
25          20.     Pursuant to the systematic process described herein, Defendant assisted Facebook
26   with intercepting Plaintiff’s protected communications on the Website without his consent,
27   including those that contained personally identifiable information and reading preferences.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                            3
          Case 3:24-cv-08987-RFL       Document 1        Filed 12/12/24      Page 5 of 35




 1           21.    By failing to receive the requisite consent, Defendant breached its duties of
 2   confidentiality and unlawfully disclosed Plaintiff’s personally identifiable information and
 3   protected reading preferences to Facebook.
 4           Defendant
 5           22.    Audible, Inc. is incorporated in the State of Delaware and has its principal place of
 6   business in Newark, New Jersey. Defendant owns and operates the digital audiobook catalog
 7   available nationwide and found at audible.com.
 8                                      FACTUAL ALLEGATIONS
 9   I.      OVERVIEW OF THE LAW
10           A.     California Information Privacy Act
11           23.    The California Information Privacy Act (“CIPA”), Cal. Penal Code § 630, et seq.,
12   prohibits aiding or permitting another person to willfully—and without the consent of all parties to
13   a communication—read or learn the contents or meaning of any message, report, or
14   communication while the same is in transit or passing over any wire, line, or cable, or is being sent
15   from or received at any place within California.
16           24.    To establish liability under Cal. Penal Code § 631(a), a plaintiff need only establish
17   that the defendant, “by means of any machine, instrument, contrivance, or in any other manner,”
18   does any of the following:
19                  Intentionally taps, or makes any unauthorized connection, whether
20                  physically, electrically, acoustically, inductively or otherwise, with
                    any telegraph or telephone wire, line, cable, or instrument, including
21                  the wire, line, cable, or instrument of any internal telephonic
                    communication system,
22
                    Or
23

24                  Willfully and without the consent of all parties to the
                    communication, or in any unauthorized manner, reads or attempts to
25                  read or learn the contents or meaning of any message, report, or
                    communication while the same is in transit or passing over any wire,
26                  line or cable or is being sent from or received at any place within
                    this state,
27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                            4
       Case 3:24-cv-08987-RFL           Document 1        Filed 12/12/24     Page 6 of 35




                    Or
 1

 2                  Uses, or attempts to use, in any manner, or for any purpose, or to
                    communicate in any way, any information so obtained,
 3
                    Or
 4
                    Aids, agrees with, employs, or conspires with any person or persons
 5
                    to unlawfully do, or permit, or cause to be done any of the acts or
 6                  things mentioned above in this section.
            25.     Section 631(a)’s applicability is not limited to phone lines, but also applies to “new
 7
     technologies” such as computers, the internet, and email. See Matera v. Google Inc., 2016 WL
 8
     8200619, at *21 (N.D. Cal. Aug. 12, 2016) (CIPA applies to “new technologies” and must be
 9
     construed broadly to effectuate its remedial purpose of protecting privacy); Bradley v. Google, Inc.,
10
     2006 WL 3798134, at *5-6 (N.D. Cal. Dec. 22, 2006) (CIPA governs “electronic
11
     communications”); In re Facebook, Inc. Internet Tracking Litigation, 956 F.3d 589 (9th Cir. 2020)
12
     (reversing dismissal of CIPA and common law privacy claims based on Facebook’s collection of
13
     consumers’ internet browsing history).
14
            26.     As part of the Invasion of Privacy Act, the California Legislature additionally
15
     introduced Penal Code § 632(a), which prohibits any person or entity from “intentionally and
16
     without the consent of all parties to a confidential communication, us[ing] an electronic amplifying
17
     or recording device to eavesdrop upon or record [a] confidential communication.”
18
            27.     A “confidential communication” for the purposes of CIPA § 632 is “any
19
     communication carried on in circumstances as may reasonably indicate that any party to the
20
     communication desires it to be confined to the parties thereto.” Cal. Penal Code § 632(c).
21
            28.     Individuals may bring an action against the violator of CIPA §§ 631 and 632.
22
     Under Cal. Penal Code § 637.2, Plaintiffs and Class Members may seek injunctive relief and
23
     statutory damages of $5,000 per violation.
24

25          B.      California Patron Use Records Act
            29.     The California Legislature enacted the Patron Use Records Act to protect certain
26
     privacy rights of California citizens accessing library services.
27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                            5
        Case 3:24-cv-08987-RFL          Document 1         Filed 12/12/24     Page 7 of 35




 1             30.   The California Patron Use Records Act, Cal. Gov. Code § 7927.105, prohibits the
 2   unauthorized disclosures of information that identifies a library patron’s “borrowing information or
 3   use of library information resources” and “[a]ny written or electronic record that is used to identify
 4   a library patron.” Ca. Gov. Code § 7929.105(a). The prohibited records that could be used to
 5   identify a patron “include[], but is not limited to, a patron’s name, address, telephone number, or
 6   email address.” Id. at (a)(1). And the prohibited records that identify a person’s borrowing
 7   information or use of library resources “includes, but is not limited to, database search records,
 8   borrowing records, class records, and any other personally identifiable uses of library resources,
 9   information requests, or inquiries.” Id. at (a)(2).
10             31.   The statute prohibits disclosure of such information “to any person, local agency, or
11   state agency,” except for use in library administrative duties, with the patron’s authorization in
12   writing, or by court order,” and creates a privacy interest for Californian library patrons in their
13   personally identifiable information and their borrowing information and library resource usage. Id.
14   at (c).
15             32.   As can be seen from the enaction of this statute, California has a strong expressed
16   legislative intent to protect the privacy rights of individuals’ reading materials and uses of research
17   materials—going to lengths to ban disclosures of which individual searched for or obtained which
18   library materials and library resource information.
19             C.    California Reader Privacy Act
20             33.   The California Reader Privacy Act, Cal. Civ. Code § 1798.90, was enacted to
21   further prevent providers of book services from disclosing or being compelled to disclose “any
22   personal information relating to a user of the book service.” Legislative Counsel’s Digest to Cal.
23   Civ. Code § 1798.90. The statute prohibits “commercial entit[ies] offering … book service[s] to
24   the public” from “knowingly disclos[ing] to any government entity,” or being “compelled to
25   disclose to any person[] [or] private entity” a user’s “personal information.”
26

27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           6
         Case 3:24-cv-08987-RFL         Document 1       Filed 12/12/24       Page 8 of 35




 1          34.     A “[b]ook service” is defined as a service that primarily “provides the rental,
 2   purchase, borrowing, browsing, or viewing of books.”1 Cal. Civ. Code § 1798.90(b)(2).
 3   Defendant’s Audible Service constitutes a book service here.
 4          35.     “Personal information” is defined as:
 5                  (A) Any information that identifies, relates to, describes, or is
                    associated with a particular user, including, but not limited to, the
 6                  information specifically listed in Section 1798.80.
 7                  (B) A unique identifier or Internet Protocol address, when that
                    identifier or address is used to identify, relate to, describe, or be
 8                  associated with a particular user or book, in whole or in partial form.
 9
                    (C) Any information that relates to, or is capable of being associated
10                  with, a particular user’s access to or use of a book service or a book,
                    in whole or in partial form.
11
     Cal. Civ. Code § 1798.90(b)(2).
12
            36.     While this statute focuses on prohibiting disclosures of personal information to
13
     government entities, the explicit ban on disclosing “personal information relating to a user of [a]
14
     book service” further demonstrates California’s strong intent in protecting the private reading and
15
     book-browsing history of its residents.
16
     II.    OVERVIEW OF THE PARTIES
17
            A.      Defendant Provides Digital Reading Materials
18
            37.     “Audible is the leading producer and provider of audio storytelling.”2 Account
19
     holders can access Defendant’s extensive catalog of audiobooks through Defendant’s Website and
20
     Defendant’s Audible iOS and Android mobile applications (together the “App”).
21
            38.     In many ways, Audible works like a paid library account. Access to the Audible
22
     Service requires an Amazon account. In the signup process, users must provide their first and last
23

24

25   1
       The statute explicitly carves out stores that sell “a variety of consumer products” with book
26   service sales “do not exceed 2 percent of the store’s total annual gross sales of consumer products
     sold in the United States,” which is not applicable to Defendant here. Cal. Civ. Code
27   § 1798.90(b)(2).
     2
       About, Audible, https://www.audible.com/about/our-company.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          7
         Case 3:24-cv-08987-RFL         Document 1        Filed 12/12/24     Page 9 of 35




 1   name and email addresses to Defendant in order to create an Audible account.3 After they create
 2   an account, users can begin to listen to audiobooks on the App or Website.
 3          39.     A subscription to Audible comes in two main tiers: Audible Plus and Audible
 4   Premium Plus.4 Audible Plus costs $7.95 a month and provides access to “thousands of select
 5   audiobooks and podcasts.”5 Audible Premium Plus costs $14.95 a month and comes with access to
 6   the same catalog of free audiobooks as Audible Plus, as well as one free “credit” every month.6
 7   Premium Plus users can purchase audiobooks indefinitely through their credit card payments or
 8   through these “credits.”7 One credit can be exchanged for one audiobook.8 If they want more
 9   credits, Premium Plus users can purchase credits with money—1 extra credit is $14.95, a pack of 3
10   extra credits is $37.99, and a pack of five extra credits is $55.99.9
11          40.     Defendant owns and operates the Website, which provides the Audible Service and
12   distributes and sells audiobook materials to account holders across the entire United States.
13
     3
14     AUDIBLE, CREATE ACCOUNT,
     https://www.amazon.com/ap/register?openid.pape.max_auth_age=1209600&openid.identity=http
15   %3A%2F%2Fspecs.openid.net%2Fauth%2F2.0%2Fidentifier_select&siteState=131-3297027-
     2396703&marketPlaceId=AF2M0KC94RCEA&language=en_US&pageId=amzn_audible_bc_us&
16   openid.return_to=https%3A%2F%2Fwww.audible.com%2Fsubscription%2Fconfirmation%3Fref_
     pageloadid%3Dnot_applicable%26ref%3Da_hp_c1_member_cta1%26membershipAsin%3DB076
17   FLV3HT%26plink%3DMiB0bIEC3R2DRPWt%26pageLoadId%3DZxgT9RZROIISPfA8%26crea
     tiveId%3Dc2e1091d-ff6b-4a30-a52d-c6db1a4d5245%26loginAttempt%3Dtrue&prevRID=QJ4Y
18   XKN7W2JHHPCFRRGK&openid.assoc_handle=audible_experiment_sso_web_us&openid.mode
     =checkid_setup&prepopulatedLoginId=&failedSignInCount=0&openid.claimed_id=http%3A%2F
19   %2Fspecs.openid.net%2Fauth%2F2.0%2Fidentifier_select&openid.ns=http%3A%2F%2Fspecs.op
     enid.net%2Fauth%2F2.0.
20   4
       AUDIBLE, START YOU[R] AUDIBLE MEMBERSHIP,
21   https://www.audible.com/ep/memberbenefits#:~:text=How%20Audible%20Premium%20Plus%20
     Works,Plus%20Catalog%20for%20$14.95/month..
     5
22     Id.
     6
23     Id. (Audible also offers more plans that cost more, including the 2-Credit [per month] Audible
     Premium Plus plan at $22.95 a month, the Audible Premium Plus Annual plan that costs $149.50 a
24   year and provides users with 12 credits upfront, and the 24-credit Audible Premium Plus Annual
     plan, which costs $229.50 and gives users 24 credits a year).
     7
25     Id.
     8
26     Id.
     9
       AUDIBLE, CREDITS, https://www.audible.com/extra-credits?ref_pageloadid=not_applicable&plink
27   =IeiSxA69n92i5OMd&pageLoadId=QCOQ7JSFNTTKkp9K&creativeId=cc9cccd4-a203-4dc7-
     8411-dc364a935d5f&ref=a_hp_t1_navTop_sl1.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      8
          Case 3:24-cv-08987-RFL        Document 1        Filed 12/12/24       Page 10 of 35



                B.    The Audible Service Integrated The Facebook Pixel
 1
                41.   Per Plaintiffs’ counsel’s investigation, Defendant intercepts and discloses to
 2
     Facebook individual users’ personally identifiable information in the form of their Facebook
 3
     account and the full title of the materials that individuals search for, listen to, and purchase on the
 4
     Audible Service. This is achieved through Defendant’s integration of a piece of tracking pixel
 5
     called the Facebook Pixel (“Facebook Pixel” or “Pixel”) onto the Website.
 6
                42.   A research paper presented at the Association for Computing Machinery Web
 7
     Conference in 2023 states that “[a tracking pixel] is a piece of JavaScript code added to a website as
 8
     a graphic element[, ] 1 × 1 pixel [in size,] that is loaded when a user lands on the website hosting
 9
     it.”10 “When a user visits a [tracking pixel]-enabled website, an instance of the [tracking] pixel loads
10
     in the HTML code of the page on the browser.”11 “[I]f a corresponding … cookie does not exist on
11
     the browser, one is created and a unique ID is saved[.]”12 Then, the tracking pixel’s “embedded []
12
     URL point[s] to [a third party’s (i.e., Facebook)] servers[] … [and] report[s] to [the third party (i.e.,
13
     Facebook)] the user[’s] activity for the duration of the visit[,]” along “with [the] specific ID reflecting
14
     the specific [website user. This] can be used [] to track [] audiences for brand ads[.]”13
15
                43.   To implement a tracking pixel, a website administrator simply places on their
16
     website “[t]he [b]ase [tracking p]ixel code[, which] is a small segment of JavaScript code [that]
17
     acts as an ‘initiator’ for the [tracking p]ixel[’s] behavior.”14 Once active, this code will load “a
18
     library of functions [(i.e., fbevents.js for the Pixel] … on the website[.] … This library is the core
19
     mechanism[s] of the FB Pixel.”15 In addition, “the webpage administrator [] define[s] … the
20
     behavior they wish to track and report to [Facebook], by defining events, i.e., actions, that a user
21

22
     10
23      Paschalis Bekos et al., The Hitchhiker’s Guide to Facebook Web Tracking with
     Invisible Pixels and Click IDs, ARXIV (Apr. 2023) at 2, https://arxiv.org/pdf/2208.00710.
24   11
        Id.
25   12
          Id.
     13
26        Id.
     14
          Id.
27
     15
          Id.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                              9
          Case 3:24-cv-08987-RFL         Document 1       Filed 12/12/24       Page 11 of 35




 1   takes on the website.”16 When in use, the tracking pixels then “reports to [Facebook] information
 2   about [each] event and [the] user that caused it,” for Facebook’s “future use in ad-conversion and
 3   further user profiling and tracking[.]”17
 4              44.   Defendant discloses users’ personally identifying information and the information
 5   they viewed or obtained on the Audible Service to Facebook so that it can obtain the marketing,
 6   advertising, and analytics technological tools that Facebook provides. Facebook describes itself as
 7   a “real identity platform,”18 meaning users are allowed only one account and must share “the name
 8   they go by in everyday life.”19 To that end, when creating an account, users must provide their first
 9   and last name, along with their birthday and gender.20
10              45.   In 2021, Facebook generated $117 billion in revenue.21 With respect to the apps
11   offered by Facebook, substantially all of Facebook’s revenue is generated by selling advertising
12   space. 22
13              46.   Facebook sells advertising space by highlighting its ability to target users.23
14   Facebook can target users so effectively because it surveils user activity both on and off its site.24
15   This allows Facebook to make inferences about users beyond what they explicitly disclose, like
16

17

18   16
          Id.
19   17
          Id.
     18
20      Sam Schechner and Jeff Horwitz, How Many Users Does Facebook Have? The Company
     Struggles to Figure It Out, WALL. ST. J. (Oct. 21, 2021).
21   19
        FACEBOOK, COMMUNITY STANDARDS, PART IV INTEGRITY AND AUTHENTICITY,
22   https://www.facebook.com/communitystandards/integrity_authenticity.
     20
        FACEBOOK, SIGN UP, https://www.facebook.com/.
23   21
        FACEBOOK, META REPORTS FOURTH QUARTER AND FULL YEAR 2021 RESULTS,
24   https://investor.fb.com/investor-news/press-release-details/2022/Meta-Reports-Fourth-Quarter-and-
     Full-Year-2021-Results/default.aspx
     22
25      Id.at 63.
     23
26      FACEBOOK, WHY ADVERTISE ON FACEBOOK,
     https://www.facebook.com/business/help/205029060038706.
     24
27      FACEBOOK, ABOUT FACEBOOK PIXEL,
     https://www.facebook.com/business/help/742478679120153?id=1205376682832142.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                             10
          Case 3:24-cv-08987-RFL       Document 1      Filed 12/12/24     Page 12 of 35




 1   their “interests,” “behavior,” and “connections.”25 Facebook compiles this information into a
 2   generalized dataset called “Core Audiences,” which allows advertisers to reach precise audiences
 3   based on specified targeting types.26
 4            47.   Advertisers can also build “Custom Audiences.”27 Custom Audiences enables
 5   advertisers to reach “people who have already shown interest in [their] business, whether they’re
 6   loyal customers or people who have used [their] app or visited [their] website.”28 With Custom
 7   Audiences, advertisers can target existing customers directly, and they can also build a “Lookalike
 8   Audiences,” which “leverages information such as demographics, interests, and behavior from your
 9   source audience to find new people who share similar qualities.”29 Unlike Core Audiences,
10   advertisers can build Custom Audiences and Lookalike Audiences only if they first supply
11   Facebook with the underlying data. They can do so through two mechanisms: by manually
12   uploading contact information for customers, or by utilizing Facebook’s “Business Tools.”30
13            48.   As Facebook puts it, the Business Tools “help website owners and publishers, app
14   developers and business partners, including advertisers and others, integrate with [Facebook],
15   understand and measure their products and services, and better reach and serve people who might
16   be interested in their products and services.”31 Put more succinctly, Facebook’s Business Tools are
17

18
     25
        FACEBOOK, AD TARGETING: HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR BUSINESS,
19   https://www.facebook.com/business/ads/ad-targeting.
     26
20      FACEBOOK, EASIER, MORE EFFECTIVE WAYS TO REACH THE RIGHT PEOPLE ON FACEBOOK,
     https://www.facebook.com/business/news/Core-Audiences.
     27
21      FACEBOOK, ABOUT CUSTOM AUDIENCES,
     https://www.facebook.com/business/help/744354708981227?id=2469097953376494.
22   28
        FACEBOOK, AD TARGETING, HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR BUSINESS,
23   https://www.facebook.com/business/ads/ad-targeting.
     29
        FACEBOOK, ABOUT LOOKALIKE AUDIENCES,
24   https://www.facebook.com/business/help/164749007013531?id=401668390442328.
     30
25      FACEBOOK, CREATE A CUSTOMER LIST CUSTOM AUDIENCE,
     https://www.facebook.com/business/help/170456843145568?id=2469097953376494; Facebook,
26   Create a Website Custom Audience,
     https://www.facebook.com/business/help/1474662202748341?id=2469097953376494.
     31
27      FACEBOOK, THE FACEBOOK BUSINESS TOOLS,
     https://www.facebook.com/help/331509497253087.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        11
          Case 3:24-cv-08987-RFL       Document 1        Filed 12/12/24      Page 13 of 35




 1   bits of code that advertisers can integrate into their website, mobile applications, and servers,
 2   thereby enabling Facebook to intercept and collect user activity on those platforms.
 3            49.   The Business Tools are automatically configured to capture certain data, like when a
 4   user visits a webpage, that webpage’s Universal Resource Locator (“URL”) and metadata, or when
 5   a user downloads a mobile application or makes a purchase.32 Facebook’s Business Tools can also
 6   track other events. Facebook offers a menu of “standard events” from which advertisers can
 7   choose, including what content a visitor views or purchases.33 Advertisers can even create their
 8   own tracking parameters by building a “custom event.”34
 9            50.   Facebook offers the Pixel as a Business Tool to advertisers, like Defendant, to
10   integrate into their websites. The Facebook Pixel “tracks the people and type of actions they
11   take.”35 When a user accesses a website hosting the Facebook Pixel, Facebook’s software script
12   surreptitiously directs the user’s browser to contemporaneously send a separate message to
13   Facebook’s servers. This second, secret transmission contains the original GET request sent to the
14   host website, along with additional data that the Facebook Pixel is configured to collect. This
15   transmission is initiated by Facebook code and concurrent with the communications with the host
16   website. At relevant times, two sets of code are thus automatically run as part of the browser’s
17   attempt to load and read Defendant’s Website—Defendant’s own code, and Facebook’s embedded
18   code.
19            51.   Defendant chose to include the Facebook Pixel on its Website.
20            52.   Facebook’s own documentation makes clear just how much tracking of private
21
     32
22      See FACEBOOK, FACEBOOK PIXEL, ACCURATE EVENT TRACKING, ADVANCED,
     https://developers.facebook.com/docs/facebook-pixel/advanced/; see also FACEBOOK, BEST
23   PRACTICES FOR FACEBOOK PIXEL SETUP,
     https://www.facebook.com/business/help/218844828315224?id=1205376682832142; FACEBOOK,
24   APP EVENTS API, https://developers.facebook.com/docs/marketing-api/app-event-api/.
     33
        FACEBOOK, SPECIFICATIONS FOR FACEBOOK PIXEL STANDARD EVENTS,
25   https://www.facebook.com/business/help/402791146561655?id=1205376682832142.
     34
26      FACEBOOK, ABOUT STANDARD AND CUSTOM WEBSITE EVENTS,
     https://www.facebook.com/business/help/964258670337005?id=1205376682832142; see also
27   FACEBOOK, APP EVENTS API, https://developers.facebook.com/docs/marketing-api/app-event-api/.
     35
        FACEBOOK, RETARGETING, https://www.facebook.com/business/goals/retargeting.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        12
          Case 3:24-cv-08987-RFL       Document 1        Filed 12/12/24     Page 14 of 35




 1   information the Facebook Pixel does. It describes the Facebook Pixel as code that Facebook’s
 2   business customers can put on their website to “[m]ake sure your ads are shown to the right people.
 3   Find … people who have visited a specific page or taken a desired action on your website.”36
 4            53.   Facebook instructs such business customers that:
 5                  Once you’ve set up the [Facebook Tracking] Pixel, the pixel will log
                    when someone takes an action on your website. Examples of
 6                  actions include adding an item to their shopping cart or making a
 7                  purchase. The Pixel receives these actions, or events, which you
                    can view on your [Facebook Tracking] Pixel page in Events
 8                  Manager. From there, you’ll be able to see the actions that your
                    customers take. You’ll also have options to reach those customers
 9                  again through future Meta ads.37
10            54.   The Facebook Pixel code enables Facebook not only to help Defendant with

11   advertising to its own users outside the Website, but also include individual users among groups

12   targeted by other Facebook advertisers relating to the conditions about which users communicated

13   on Defendant’s Website.

14            55.   Facebook’s Business Help Center explains:

15                  Meta uses marketing data to show ads to people who are likely to
                    be interested in them. One type of marketing data is website events,
16                  which are actions that people take on your website.38
17            56.   In other words, Facebook sells advertising space by highlighting its ability to target
18   users.39 Facebook can target users so effectively because it surveils user activity both on and off its
19   site.40 This allows Facebook to make inferences about users beyond what they explicitly disclose,
20

21
     36
        FACEBOOK, ABOUT META PIXEL,
22   https://www.facebook.com/business/help/742478679120153?id=1205376682832142 (emphasis
     added).
23   37
        Id. (emphasis added).
     38
24      FACEBOOK, ABOUT STANDARD AND CUSTOM WEBSITE EVENTS,
     https://www.facebook.com/business/help/964258670337005?id=1205376682832142 (emphasis
25   added).
     39
26      FACEBOOK, WHY ADVERTISE ON FACEBOOK, INSTAGRAM AND OTHER META TECHNOLOGIES,
     https://www.facebook.com/business/help/205029060038706.
     40
27      FACEBOOK, ABOUT META PIXEL,
     https://www.facebook.com/business/help/742478679120153?id=1205376682832142.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         13
          Case 3:24-cv-08987-RFL       Document 1        Filed 12/12/24    Page 15 of 35




 1   like their “interests,” “behavior,” and connections.41
 2            57.   An example illustrates how the Facebook Pixel works. Take an individual who
 3   navigates to Defendant’s Website and views or buys a particular audiobook. When that action is
 4   clicked, the individual’s browser sends a GET request to Defendant’s server requesting that server
 5   to load the particular webpage. Because the Audible Service integrated and utilizes the Facebook
 6   Pixel, Facebook’s embedded code, written in JavaScript, sends secret instructions back to the
 7   individual’s browser, without alerting the individual that this is happening. Facebook causes the
 8   browser to secretly duplicate the communication with Defendant, transmitting it to Facebook’s
 9   servers, alongside additional information that transcribes the communication’s content and the
10   individual’s identity.
11            58.   After collecting and intercepting the information described in the preceding
12   paragraph, Facebook processes it, analyzes it, and assimilates it into datasets like Core Audiences
13   and Custom Audiences.
14   III.     DEFENDANT KNOWINGLY DISCLOSES USERS’ PROTECTED
              READING INFORMATION AND ASSISTED WITH INTERCEPTING
15            PRIVATE COMMUNICATIONS
16            59.   Through the Pixel, Defendant assists Facebook with intercepting the identities and
17   online rental activity of Defendant’s users on the Audible Service, including information relating to
18   the audio books that users viewed, played, and bought.
19            60.   When a user views an audiobook on the Website, Defendant discloses to Facebook
20   through the Pixel the audiobook that the user viewed. This means that if a user searches for the
21   title of an audiobook, Defendant sends this information to Facebook. For example, the following
22

23

24

25

26
     41
27    FACEBOOK, AD TARGETING: HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR
     BUSINESS, https://www.facebook.com/business/ads/ad-targeting.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          14
      Case 3:24-cv-08987-RFL          Document 1       Filed 12/12/24     Page 16 of 35




 1   screenshot of the network traffic shows Defendant sending to Facebook the following network
 2   transmission of a user viewing the audiobook of J.R.R. Tolkien’s The Fellowship of the Ring:
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20          61.     In the Universal Resource Locator (“URL”) of the request, red squares highlight

21   that the individual user: (i) viewed a page (denoted by the “ev=ViewContent”); (ii) that was viewed

22   on the Audible Service located at www.audible.com; and (iii) specifically, this user viewed the

23   audiobook of The Fellowship of the Ring.

24          62.     In addition, while Defendant’s disclosure of the user’s view of The Fellowship of

25   the Ring is already unlawful, Defendant also discloses even more specific details about the viewed

26   audiobook. Taking the prior example, if one wanted to know exactly which version of the

27   audiobook of The Fellowship of the Ring the user viewed, one would simply search for the ASIN

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       15
          Case 3:24-cv-08987-RFL       Document 1      Filed 12/12/24      Page 17 of 35




 1   code of that specific audiobook that Defendant also discloses in the same network transmission.
 2   An ASIN code stands for an “Amazon Standard Identification Number,” and is a “10-digit
 3   alphanumeric number that uniquely identifies products on Amazon.”42 In the following screenshot
 4   showing the same network transmission of the user viewing The Fellowship of the Ring, the red
 5   square spotlights the ASIN that Defendant discloses to Facebook via the Pixel:
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23            63.    Notably, any person with Internet access can discover the exact audiobook that a
24   user viewed by simply looking up the disclosed ASIN in a web browser. In the prior example, the
25   ASIN is “1705047572.” Often, the first result that appears when the ASIN is searched is the
26   product that the user viewed. The following screenshot is demonstrative:
27
     42
          Amazon-Asin, https://amazon-asin.com/blog/what-is-asin-number/.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       16
      Case 3:24-cv-08987-RFL           Document 1       Filed 12/12/24      Page 18 of 35




 1

 2

 3

 4

 5

 6

 7

 8          64.     Further, in that same network transmission, Defendant discloses precisely who the
 9   individual user that viewed The Fellowship of the Ring is. Defendant does this by disclosing an
10   individual user’s “c_user cookie,” a unique identifier associated with a single Facebook user’s
11   Facebook profile (“Facebook ID” or “FID”). The cookie is a string of numbers that is unique to
12   every Facebook account—distinguishing each FID from its peers.
13          65.     Any person, even those without in-depth technical expertise, can utilize the FID to
14   identify owners of the FID via their Facebook profile. Once the Pixel’s routine exchange of
15   information is complete, the FID that becomes available can be used by any individual of ordinary
16   skill and technical proficiency to easily identify a Facebook user, by simply appending the
17   Facebook FID to www.facebook.com (www.facebook.com/[UID_here]). That step, readily
18   available through any internet browser, will direct the browser to the individual FID’s profile page,
19   including all the information contained in or associated with the profile page, for the user
20   associated with the particular FID.
21          66.     A user who accesses Defendant’s Website while logged into Facebook will transmit
22   the c_user cookie to Facebook, which contains that user’s unencrypted Facebook ID.
23          67.     The following image is the same screenshotted network traffic showing Defendant
24   disclosing a user’s FID to Facebook via the Pixel when a user used the Audible Service and viewed
25   The Fellowship of the Ring¸ except this time, the user’s FID is spotlighted:
26

27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         17
      Case 3:24-cv-08987-RFL           Document 1       Filed 12/12/24      Page 19 of 35




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16
            68.     Due to the integration of the Facebook Pixel on the Website, Facebook is able to
17
     intercept the information about the Website page the user viewed. This information includes the
18
     specific audio visual and/or reading materials that the user searched for or borrowed, all of which is
19
     included in the URL. When Facebook intercepts this communication—made possible by
20
     Defendant’s integration of the Facebook Pixel—Facebook effectively intercepts the exact reading
21
     material(s) that the individual is viewing or has obtained.
22
            69.     Notably, Defendant even sends to Facebook through the Pixel whether the user
23
     played or purchased any given audiobook. The following screenshot of the network traffic shows
24
     Defendant disclosing to Facebook a user who viewed an audiobook version of J.R.R. Tolkien’s The
25
     Fellowship of the Ring:
26
            //
27
            //
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        18
      Case 3:24-cv-08987-RFL         Document 1       Filed 12/12/24     Page 20 of 35




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14
            70.    And the following screenshot shows Defendant disclosing to Facebook a user’s
15
     personally identifiable information and the fact that they watched the movie Wicked, The Real
16
     Story, produced by Stephen Schwartz:
17

18
            71.    And the following screenshot discloses Defendant disclosing to Facebook via the
19
     Facebook Pixel a user purchasing J.R.R. Tolkien’s The Return of the King (denoted by the words
20
     “express_checkout_succeeded”), with the ASIN of “B002V1A2EA”:
21
            //
22
            //
23
            //
24
            //
25
            //
26

27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     19
          Case 3:24-cv-08987-RFL       Document 1        Filed 12/12/24     Page 21 of 35




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17            72.   When a visitor’s browser has recently logged out of an account, Facebook compels
18   the visitor’s browser to send a smaller set of cookies.
19            73.   One such cookie is the “fr cookie” which contains, at least, an encrypted Facebook
20   ID and browser identifier.43 Facebook, at a minimum, uses the fr cookie to identify users. 44
21            74.   If a visitor has never created an account, an even smaller set of cookies are
22   transmitted.
23

24

25
     43
26      DATA PROTECTION COMMISSIONER, FACEBOOK IRELAND LTD, REPORT OF RE-AUDIT (Sept. 21,
     2012), http://www.europe-v-facebook.org/ODPC_Review.pdf.
     44
27      FACEBOOK, PRIVACY CENTER–COOKIES POLICY,
     https://www.facebook.com/privacy/policies/cookies/?subpage=subpage-1.3.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    20
          Case 3:24-cv-08987-RFL        Document 1       Filed 12/12/24      Page 22 of 35




 1            75.     At each stage, Defendant also utilizes the “_fbp cookie”, which attaches to a
 2   browser as a first-party cookie, and which Facebook uses to identify a browser and a user. 45
 3            76.     The c_user cookie expires after 90 days if the user checked the “keep me logged in”
 4   checkbox on the website.46 Otherwise, the c_user cookie is cleared when the browser exits.47
 5            77.     The fr cookie expires after 90 days unless the visitor’s browser logs back into
 6   Facebook.48 If that happens, the time resets, and another 90 days begins to accrue.49
 7            78.     The _fbp cookie expires after 90 days unless the visitor’s browser accesses the same
 8   website.50 If that happens, the time resets, and another 90 days begins to accrue.51
 9            79.     The Facebook Pixel uses both first- and third-party cookies. A first-party cookie is
10   “created by the website the user is visiting”—i.e., the Website.52 A third-party cookie is “created
11   by a website with a domain name other than the one the user is currently visiting”—i.e.,
12   Facebook.53 The _fbp cookie is always transmitted as a first-party cookie. A duplicate _fbp cookie
13   is sometimes sent as a third-party cookie, depending on whether the browser has recently logged
14   into Facebook.
15            80.     Facebook, at a minimum, uses the fr, _fbp, and c_user cookies to link to Facebook
16   IDs and corresponding Facebook profiles. Defendant sent these identifiers alongside the event
17   data.
18
     45
        FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES,
19   https://www.facebook.com/policy/cookies/.
     46
20      Seralthan, FACEBOOK COOKIES ANALYSIS (Mar. 14, 2019),
     https://techexpertise.medium.com/facebook-cookies-analysis-e1cf6ffbdf8a.
     47
21      Id.
     48
22      See id.
     49
        Confirmable through developer tools.
23   50
        See FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES,
24   https://www.facebook.com/policy/cookies/.
     51
        Also confirmable through developer tools.
25   52
        PC MAG, FIRST-PARTY COOKIES, https://www.pcmag.com/encyclopedia/term/first-party-cookie.
26   This is confirmable by using developer tools to inspect a website’s cookies and track network
     activity.
     53
27      PC MAG, THIRD-PARTY COOKIES, https://www.pcmag.com/encyclopedia/term/third-party-cookie.
     This is also confirmable by tracking network activity.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          21
          Case 3:24-cv-08987-RFL       Document 1        Filed 12/12/24      Page 23 of 35



     IV.      DEFENDANT DISCLOSES USERS’ PII AND READING HISTORY FOR
 1            THE PURPOSES OF MARKETING, ADVERTISING, AND ANALYTICS
 2            81.    Defendant transmits the foregoing personally identifiable information and record of
 3   materials viewed and obtained of users on the Website to Facebook so that Facebook can help
 4   Defendant launch marketing campaigns, target specific users with advertising, and analyze Website
 5   users’ data.
 6            82.    According to Facebook, the Pixel “works by loading a small library of functions
 7   which [] can [be] use[d] whenever a site visitor takes an action (called an event) that [a client]
 8   want[s] to track (called a conversion).”54 The Pixel “relies on Facebook cookies, which enable
 9   [Facebook] to match [] website visitors to their respective Facebook User accounts.”55 Facebook
10   offers a menu of “standard events” that can be tracked, including what content a visitor views or
11   purchases.56 Advertisers can also create their own tracking parameters by building a “custom
12   event.”57
13            83.    This gathered information is used for marketing and advertising. Specifically, the
14   Pixel’s library of functions can be used to “[t]rack conversions [] in the Ads Manager[,] … to
15   define custom audiences for ad targeting, [and] for Advantage+ catalog ads campaigns[.]”58
16            84.    Taking these one by one, “track[ing ] website visitors’ actions[,] also known as
17   conversion tracking[,] ... can be used to analyze the effectiveness of [a] conversion funnel and to
18

19

20

21   54
          FACEBOOK, META PIXEL, https://developers.facebook.com/docs/meta-pixel.
22   55
        FACEBOOK, META PIXEL GET STARTED, https://developers.facebook.com/docs/meta-pixel/get-
     started.
23
     56
        FACEBOOK, SPECIFICATIONS FOR META PIXEL STANDARD EVENTS,
24   https://www.facebook.com/business/help/402791146561655. See also FACEBOOK, STANDARD
     EVENTS, https://developers.facebook.com/docs/meta-pixel/reference.
25
     57
        FACEBOOK, ABOUT STANDARD AND CUSTOM WEBSITE EVENTS,
26   https://www.facebook.com/business/help/964258670337005; see also FACEBOOK, APP EVENTS
     API, https://developers.facebook.com/docs/marketing-api/app-event-api/.
27
     58
          FACEBOOK, META PIXEL, https://developers.facebook.com/docs/meta-pixel.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          22
          Case 3:24-cv-08987-RFL         Document 1       Filed 12/12/24      Page 24 of 35




 1   calculate [] return[s] on ad investment[s].”59 Once a client is “tracking conversions, [Facebook]
 2   recommend[s] that [the client] use them to … optimize [] ads for website conversions.”60
 3              85.   A “custom audience is an ad targeting option”61 that can be used by advertisers, like
 4   Defendant, “to find people most likely to respond to [their] ad[s].”62 Clients can “[c]reate [an]
 5   online audience based on the traits of who [they] want to see [their] ad[s], and narrow down [their]
 6   ad[s’] audience[s] by interests, gender or location and use ad targeting to find the people most
 7   likely to take action. Once [an] ad starts running, [Facebook’s] system will learn who is engaging
 8   with it and, over time, narrow [the] audience [to help] reach more of the right people.”63
 9   Advertisers can target, inter alia, “[n]ew customers with specific interests or from a specific
10   location”; “[p]eople who have already shown an interest in [a client’s] business”; and “[p]eople
11   who share interests with [a client’s] current customers.”64
12              86.   “Advantage+ catalog ads are dynamically created by populating an ad template with
13   product information found in a data feed. This allows [Facebook clients like Defendant] to create
14   thousands of ads without having to configure each of them individually.”65 Clients “can also use
15   Advantage+ catalog ads to target visitors based on how they have interacted with [their] website in
16   the past.”66
17              87.   In short, Facebook states67 that the Pixel can be used to:
18
     59
       FACEBOOK, CONVERSION TRACKING, https://developers.facebook.com/docs/meta-
19   pixel/implementation/conversion-tracking.
     60
20        Id.
     61
21     FACEBOOK, ABOUT CUSTOM AUDIENCES, https://www.facebook.com/business/
     help/744354708981227.
22   62
          FACEBOOK, AUDIENCE AD TARGETING, https://www.facebook.com/business/ads/ad-targeting.
23   63
          Id.
     64
24        Id.
     65
       FACEBOOK, META PIXEL FOR ADVANTAGE+ CATALOG ADS,
25
     https://developers.facebook.com/docs/meta-pixel/get-started/advantage-catalog-ads.
26   66
          Id.
     67
27     FACEBOOK, ABOUT META PIXEL, https://www.facebook.com/business/help/
     742478679120153.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        23
          Case 3:24-cv-08987-RFL        Document 1       Filed 12/12/24      Page 25 of 35



                         Make sure your ads are shown to the right people. Find new
 1                        customers, or people who have visited a specific page or taken a
                          desired action on your website.
 2
                         Drive more sales. Set up automatic bidding to reach people who
 3
                          are more likely to take an action you care about, like making a
 4                        purchase.

 5                       Measure the results of your ads. Better understand the impact of
                          your ads by measuring what happens when people see them.
 6
                88.   Gathered information is also used for analytics. Namely, the Pixel helps
 7
     “understand[] the actions people take on [a] website.”68 “Examples of actions include adding an
 8
     item to their shopping cart or making a purchase. The Pixel receives these actions, or events, which
 9
     [] can [be] view[ed] on [the] Meta Pixel page in [the Facebook] Events Manager. From there, [a
10
     client will] be able to see the actions that [its] customers take.”69 This allows Facebook clients to
11
     “segment [their] website visitors into groups based on the actions they have taken on [their]
12
     website.”70 Additionally, with the Pixel, clients can “[a]dd events on the pages that matter to
13
     [their] business to help [] understand [] customers’ journey[s]. If [one were to] set up events along
14
     their path (for example, from product page views to a purchase) it may help [] measure and
15
     optimize [] ads for the conversions that mean the most to [one’s] business.”71
16
                89.   Defendant uses the Pixel for such marketing, advertising, and analytics purposes.
17
     Defendant obtains revenue from the subscriptions and audiobook purchases of users on the Audible
18
     Service. Defendant knows that its ability to generate revenue depends in large part on the quality
19
     of its digital catalog content. Therefore, Defendant employs the Pixel to spy on users and intercept
20
     the communications of users viewing and obtaining reading material. Defendant then gathers that
21
     information and catalogs it, creating an individualized profile of each user.
22

23
     68
24        Id.
     69
          Id.
25
     70
       FACEBOOK, CUSTOM AUDIENCES, https://developers.facebook.com/docs/meta-pixel/
26   implementation/custom-audiences.
     71
27      FACEBOOK, ABOUT STANDARD AND CUSTOM WEBSITE EVENTS,
     https://www.facebook.com/business/help/964258670337005.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                            24
          Case 3:24-cv-08987-RFL        Document 1        Filed 12/12/24      Page 26 of 35




 1            90.    Defendant analyzes large masses of this user profile information to locate trends and
 2   adjust its digital content accordingly, as well as to serve “interest based ads” to users. Further,
 3   Audible states that users who “choose not to receive interest-based ads from Audible … will still
 4   see ads but they will not be based on [users’] interests.”72
 5                                   CLASS ACTION ALLEGATIONS
 6            91.    Class Definition: Pursuant to Rule 23 of the Federal Rules of Civil Procedure,
 7   Plaintiffs brings this action on behalf of themselves and other similarly situated individuals defined
 8   as all persons in the state of California who United States who, during the class period, had their
 9   personally identifiable information or protected reading information disclosed to Facebook and
10   other third party entities, as a result of using the Website (the “Class”).
11            92.    Plaintiffs reserve the right to modify the class definition or add sub-classes as
12   necessary prior to filing a motion for class certification.
13            93.    The “Class Period” is the time period beginning on the date established by the
14   Court’s determination of any applicable statute of limitations, after considering of any tolling,
15   concealment, and accrual issues, and ending on the date of entry of judgement.
16            94.    Excluded from the Class is Defendant; any affiliate, parent, or subsidiary of
17   Defendant; any entity in which Defendant has a controlling interest; any officer director, or
18   employee of Defendant; any successor or assign of Defendant; anyone employed by counsel in this
19   action; any judge to whom this case is assigned, his or her spouse and immediate family members;
20   and members of the judge’s staff.
21            95.    Numerosity/Ascertainability. Members of the Class are so numerous that joinder of
22   all members would be unfeasible and not practicable. The exact number of Class Members is
23   unknown to Plaintiffs at this time; however, it is estimated that there are hundreds of thousands of
24   individuals in the Class. The identity of such membership is readily ascertainable from
25   Defendant’s records and non-party records, such as those of Facebook.
26

27
     72
          AUDIBLE, INTEREST BASED ADS, https://www.audible.com/legal/interest-based-ads-notice.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          25
      Case 3:24-cv-08987-RFL           Document 1       Filed 12/12/24      Page 27 of 35




 1          96.     Typicality. Plaintiffs’ claims are typical of the claims of the Class because Plaintiffs
 2   used the Website and, as a result of Defendant’s unlawful conduct, had their personally identifiable
 3   information and private reading information intercepted by Facebook without their express written
 4   authorization or knowledge. Plaintiffs’ claims are based on the same legal theories as the claims of
 5   other Class Members.
 6          97.     Adequacy. Plaintiffs are fully prepared to take all necessary steps to represent fairly
 7   and adequately the interests of the Class Members. Plaintiffs’ interests are coincident with, and not
 8   antagonistic to, those of the members of the Class. Plaintiffs are represented by attorneys with
 9   experience in the prosecution of class action litigation generally and in the emerging field of data
10   privacy litigation specifically. Plaintiffs’ attorneys are committed to vigorously prosecuting this
11   action on behalf of the members of the Class.
12          98.     Common Questions of Law and Fact Predominate/Well Defined Community of
13   Interest. Questions of law and fact common to the members of the Class predominate over
14   questions that may affect only individual members of the Class because Defendant has acted on
15   grounds generally applicable to the Class. Such generally applicable conduct is inherent in
16   Defendant’s wrongful conduct. Questions of law and fact common to the Class include:
17          (a)     Whether Defendant intentionally tapped the lines of internet communication
18                  between account holders and the Audible Service;

19          (b)     Whether the Website (including audible.com) contains code that permits third
                    parties, such as Facebook, to intercept users’ personally identifiable information,
20                  protected reading information, and related communications;
21          (c)     Whether Facebook is a third-party eavesdropper;
22          (d)     Whether Defendant knowingly transmitted users’ personally identifiable
23                  information and library use records to Facebook;

24          (e)     Whether Plaintiffs’ and Class Members’ communications via the Website and the
                    resultant interceptions thereof constitute an affirmative act of communication;
25
            (f)     Whether Defendant’s conduct, which allowed Facebook—an unauthorized person—
26                  to view Plaintiffs’ and Class Members’ personally identifiable information and
                    library materials search and borrowing record, resulted in a breach of
27                  confidentiality;
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           26
      Case 3:24-cv-08987-RFL            Document 1       Filed 12/12/24       Page 28 of 35




            (g)     Whether Defendant violated Plaintiffs’ and Class Members’ privacy rights by using
 1
                    third-party technology, such as the Facebook Pixel, to allow third parties to intercept
 2                  users’ online communications along with information that uniquely identified the
                    individuals;
 3
            (h)     Whether Plaintiffs and Class Members are entitled to damages under CIPA or any
 4                  other relevant statute; and
 5          (i)     Whether Defendant’s actions violate Plaintiffs’ and Members of the Class’ privacy
 6                  rights as provided by the California Constitution.
            99.     Superiority. Class action treatment is a superior method for the fair and efficient
 7
     adjudication of the controversy. Such treatment will permit a large number of similarly situated
 8
     persons to prosecute their common claims in a single forum simultaneously, efficiently, and
 9
     without the unnecessary duplication of evidence, effort, or expense that numerous individual
10
     actions would engender. The benefits of proceeding through the class mechanism, including
11
     providing injured persons or entities a method for obtaining redress on claims that could not
12
     practicably be pursued individually, substantially outweighs potential difficulties in management of
13
     this class action. Plaintiffs know of no special difficulty to be encountered in litigating this action
14
     that would preclude its maintenance as a class action.
15
                                           CLAIMS FOR RELIEF
16
                                                 COUNT I
17
                           Violation Of The California Invasion Of Privacy Act,
18                                         Cal. Penal Code § 631
                                         (On Behalf Of The Class)
19
            100.    Plaintiffs repeat the allegations contained in the paragraphs above as if fully set
20
     forth herein and bring this count individually and on behalf of the members of the Class.
21
            101.    The California Invasion of Privacy Act (“CIPA”) is codified at Cal. Penal Code
22
     §§ 630 to 638. CIPA begins with its statement of purpose—namely, that the purpose of CIPA is to
23
     “protect the right of privacy of the people of [California]” from the threat posed by “advances in
24
     science and technology [that] have led to the development of new devices and techniques for the
25
     purpose of eavesdropping upon private communications.” Cal. Penal Code § 630.
26
            102.    A person violates California Penal Code § 631(a), if:
27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          27
      Case 3:24-cv-08987-RFL           Document 1        Filed 12/12/24      Page 29 of 35




                    by means of any machine, instrument, or contrivance, or in any other
 1
                    manner, [s/he] intentionally taps, or makes any unauthorized
 2                  connection, whether physically, electrically, acoustically,
                    inductively, or otherwise, with any telegraph or telephone wire, line,
 3                  cable, or instrument, including the wire, line, cable, or instrument of
                    any internal telephonic communication system, or [s/he] willfully
 4                  and without the consent of all parties to the communication, or in
 5                  any unauthorized manner, reads, or attempts to read, or to learn the
                    contents or meaning of any message, report, or communication
 6                  while the same is in transit or passing over any wire, line, or cable,
                    or is being sent from, or received at any place within this state; or
 7                  [s/he] uses, or attempts to use, in any manner, or for any purpose, or
                    to communicate in any way, any information so obtained.
 8
     Cal. Penal Code § 631(a).
 9
            103.    Further, a person violates § 631(a) if s/he “aids, agrees with, employs, or conspires
10
     with any person or persons to unlawfully do, or permit, or cause to be done any of the acts or things
11
     mentioned” in the preceding paragraph. Id.
12
            104.    To avoid liability under § 631(a), a defendant must show it had the consent of all
13
     parties to a communication.
14
            105.    At all relevant times, Defendant aided, agreed with, and conspired with third parties,
15
     including, Facebook, to track and intercept Plaintiffs’ and Class Members’ internet
16
     communications while accessing the Website. These communications were intercepted without the
17
     authorization and consent of Plaintiffs and Class Members.
18
            106.    Defendant, when aiding and assisting the wiretapping by Facebook, intended to help
19
     Facebook learn some meaning of the content in the URLs and the content the user viewed or
20
     requested.
21
            107.    The following items constitute “machine[s], instrument[s], or contrivance[s]” under
22
     the CIPA, and even if they do not, the Facebook Pixel falls under the broad catch-all category of
23
     “any other manner”:
24
            a.      The computer codes and programs Facebook used to track Plaintiffs’ and Class
25
                    Members’ communications while they were navigating the Website;
26
            b.      Plaintiffs’ and Class Members’ browsers;
27
            c.      Plaintiffs’ and Class Members’ computing and mobile devices;
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        28
      Case 3:24-cv-08987-RFL             Document 1       Filed 12/12/24      Page 30 of 35




 1             d.     Facebook’s web and ad servers;
 2             e.     The web and ad-servers from which Facebook tracked and intercepted Plaintiffs’
 3                    and Class Members’ communications while they were using a web browser to
 4                    access or navigate the Website;
 5             f.     The computer codes and programs used by Facebook to effectuate its tracking and
 6                    interception of the Plaintiffs’ and Class Members’ communications while they were
 7                    using a browser to visit Defendant’s Website; and
 8             g.     The plan Facebook carried out to effectuate their tracking and interception of the
 9                    Plaintiffs’ and Class Members’ communications while they were using a web
10                    browser to visit Defendant’s website.
11             108.   The reading records that Defendant permitted Facebook to intercept via the
12   Website’s integration of the Facebook Pixel, including users’ history of purchased and viewed
13   audiobook materials, constitutes protected information.
14             109.   As demonstrated above, Defendant violated the CIPA by aiding and permitting third
15   parties to receive its users’ online communications through the Website without their consent.
16             110.   As a result of the above violations, Defendant is liable to Plaintiffs and other Class
17   Members in the amount of, the greater of, $5,000 dollars per violation or three times the amount of
18   actual damages. Additionally, Cal. Penal Code § 637.2 specifically states that “[it] is not a
19   necessary prerequisite to an action pursuant to this section that the plaintiff has suffered, or be
20   threatened with, actual damages.”
21             111.   Under the statute, Defendant is also liable for reasonable attorney’s fees, and other
22   litigation costs, injunctive and declaratory relief, and punitive damages in an amount to be
23   determined by a jury, but sufficient to prevent the same or similar conduct by the Defendant in the
24   future.
25

26

27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                             29
       Case 3:24-cv-08987-RFL          Document 1        Filed 12/12/24      Page 31 of 35




 1                                               COUNT II
                           Violation Of The California Invasion Of Privacy Act,
 2
                                           Cal. Penal Code § 632
 3                                       (On Behalf Of The Class)

 4           112.   Plaintiffs incorporate the preceding paragraphs as if fully set forth herein.

 5           113.   Plaintiffs bring this claim against Defendant individually and on behalf of the Class.

 6           114.   CIPA § 632(a) prohibits an entity from:

 7                  intentionally and without the consent of all parties to a confidential
                    communication, uses an electronic amplifying or recording device
 8                  to eavesdrop upon or record the confidential communication,
                    whether the communication is carried on among the parties in the
 9
                    presence of one another or by means of a telegraph, telephone, or
10                  other device, except a radio.

11           115.   Facebook’s Business Tools, including but not limited to the Facebook Pixel, are

12   “electronic amplifying or recording device[s].”

13           116.   Cal. Gov. Code § 7927.105 states that a “patron use record[]” includes both:

14                  (1) Any written or electronic record that is used to identify a library
                    patron and is provided by the patron to become eligible to borrow or
15                  use books and other materials. This includes, but is not limited to, a
                    patron’s name, address, telephone number, or email address.
16
                    And
17

18                  (2) Any written record or electronic transaction that identifies a
                    patron’s borrowing information or use of library information
19                  resources. This includes, but is not limited to, database search
                    records, borrowing records, class records, and any other personally
20                  identifiable uses of library resources, information requests, or
                    inquiries.
21
             117.   Cal. Civ. Code § 1798.90 states that “personal information” means:
22

23                  (A) Any information that identifies, relates to, describes, or is
                    associated with a particular user, including, but not limited to, the
24                  information specifically listed in Section 1798.80.

25                  (B) A unique identifier or Internet Protocol address, when that
                    identifier or address is used to identify, relate to, describe, or be
26                  associated with a particular user or book, in whole or in partial form.
27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       30
      Case 3:24-cv-08987-RFL            Document 1        Filed 12/12/24      Page 32 of 35




                     (C) Any information that relates to, or is capable of being associated
 1
                     with, a particular user's access to or use of a book service or a book,
 2                   in whole or in partial form.

 3          118.     Accordingly, any information that “is used to identify a library patron,” “identifies,

 4   relates to, describes, or is associated with a particular user” of a book service, “identifies a patron’s

 5   borrowing information or use of library information resources,” constitutes a “unique identifier

 6   [that] … is used to identify, relate to, describe, or be associated with a particular user or book,” or

 7   “relates to, or is capable of being associated with a particular user’s access to or use of a book

 8   service or a book” qualifies as protected information under California law. Plaintiffs and Class

 9   Members accordingly had a privacy right to keep their library use records with the Audible Service

10   confidential.

11          119.     Specifically, the following pieces of information provided by Plaintiffs and Class

12   Members to the Website constitute private, protected information: user’s FIDs (and through them,

13   their publicly available Facebook accounts), user’s specific library search requests on the Audible

14   Service, and user’s borrowed library materials on the Audible Service.

15          120.     At all relevant times, Facebook intentionally used its Business Tools to eavesdrop

16   upon and record the confidential communications of Plaintiffs and Class Members, on the one

17   hand, and Defendant, on the other.

18          121.     When communicating with Defendant and using the Audible Service, Plaintiffs and

19   Class Members had an objectively reasonable expectation of privacy, based on Cal. Gov. Code

20   § 7927.105 and Cal. Civ. Code § 1798.90. Thus, Plaintiffs and Class Members did not reasonably

21   expect that anyone other than Defendant would be on the other end of the communication, and that

22   other, third-party entities like Facebook, would intentionally use an electronic amplifying or

23   recording device to eavesdrop upon and record the confidential communications of Plaintiffs and

24   Class Members.

25          122.     Plaintiffs and Class Members did not consent to any of Facebook’s actions. Nor

26   have Plaintiffs or Class Members consented to Facebook’s intentional use of an electronic

27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           31
      Case 3:24-cv-08987-RFL            Document 1        Filed 12/12/24      Page 33 of 35




 1   amplifying or recording device to eavesdrop upon and record the confidential communications of
 2   Plaintiffs and Class Members.
 3          123.    Pursuant to Cal. Penal Code § 637.2, Plaintiffs and Class Members have been
 4   injured by Defendant’s violations of CIPA § 632(a), and each seeks statutory damages of $5,000
 5   for each of Defendant’s violations of CIPA § 632(a).
 6
                                                COUNT III
 7                          Invasion Of Privacy Under California’s Constitution
 8                                       (On Behalf Of The Class)
            124.    Plaintiffs repeat the allegations contained in the foregoing paragraphs as if fully set
 9
     forth herein and bring this claim individually and on behalf of the proposed Class.
10
            125.    Plaintiffs and Class Members have an interest in: (1) precluding the dissemination
11
     and/or misuse of their sensitive, confidential communications and protected health information;
12
     and (2) making personal decisions and/or conducting personal activities without observation,
13
     intrusion or interference, including, but not limited to, the right to visit and interact with various
14
     internet sites without being subjected to wiretaps without Plaintiffs’ and Class Members’
15
     knowledge or consent.
16
            126.    At all relevant times, by using the Facebook Pixel to record and communicate users’
17
     FIDs alongside their protected reading activity, Defendant intentionally invaded Plaintiffs’ and
18
     Class Members’ privacy rights under the California Constitution.
19
            127.    Plaintiffs and Class Members had a reasonable expectation that their
20
     communications, identity, and reading information would remain confidential and that Defendant
21
     would not install wiretaps such as the Pixel on the Website.
22
            128.    Plaintiffs and Class Members did not authorize Defendant to record and transmit
23
     Plaintiffs’ and Class Members’ protected reading history alongside their personally identifiable
24
     information to third parties such as Facebook.
25

26

27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                             32
      Case 3:24-cv-08987-RFL           Document 1        Filed 12/12/24      Page 34 of 35




 1          129.    This invasion of privacy is serious in nature, scope, and impact because it relates to
 2   users’ protected communications requesting or obtaining reading materials. Moreover, it
 3   constituted an egregious breach of the societal norms underlying the privacy right.
 4          130.    Accordingly, Plaintiffs and Class Members seek all relief available for invasion of
 5   privacy claims under California’s Constitution.
 6                                         PRAYER FOR RELIEF
 7          WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
 8          a.      For a determination that this action is a proper class action;
 9
            b.      For an order certifying the Class, naming Plaintiffs Crowell and Smith as
10                  representatives of the Class, and naming Plaintiffs’ attorneys as Class Counsel to
                    represent the Class;
11
            c.      For an order declaring that Defendant’s conduct violates the statutes referenced
12                  herein;
13          d.      For an order finding in favor of Plaintiffs and the Class on all counts asserted
14                  herein;

15          e.      For an award of compensatory damages, including statutory damages where
                    available, to Plaintiffs and Class Members against Defendant for all damages
16                  sustained as a result of Defendant’s wrongdoing, in an amount to be proven at trial;

17          f.      For punitive damages, as warranted, in an amount to be determined at trial;
18          g.      For an order requiring Defendant to disgorge revenues and profits wrongfully
                    obtained;
19

20          h.      For prejudgment interest on all amounts awarded;

21          i.      For injunctive relief as pleaded or as the Court may deem proper;

22          j.      For an order awarding Plaintiffs and Class Members their reasonable attorneys’ fees
                    and expenses and costs of suit; and
23
            k.      For an order granting Plaintiffs and Class Members such further relief as the Court
24                  deems appropriate.
25                                     DEMAND FOR JURY TRIAL
26          Plaintiffs, on behalf of themselves and the proposed Class, demand a trial by jury for all of
27   the claims asserted in this Complaint so triable.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         33
      Case 3:24-cv-08987-RFL    Document 1     Filed 12/12/24      Page 35 of 35




     Dated: December 12, 2024            Respectfully submitted,
 1

 2                                       BURSOR & FISHER, P.A.

 3                                       By:    /s/ Philip Fraietta
                                                  Philip L. Fraietta
 4
                                         Philip L. Fraietta (State Bar No. 354768)
 5                                       1330 Avenue of the Americas, 32nd Floor
                                         New York, NY 10019
 6                                       Telephone: (646) 837-7408
                                         Facsimile: (212) 989-9163
 7                                       E-mail: pfraietta@bursor.com
 8
                                         Attorney for Plaintiffs and the Putative Class
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         34
